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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


ATLAS AIR, INC. and POLAR AIR CARGO                     Civil Action No. 1:17-CV-01953 RDM
WORDL WIDE, INC.,

Plaintiffs,

                        v.

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS; INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, AIRLINE
DIVISION; and AIRLINE PROFESSIONALS
ASSOCIATION OF THE INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, LOCAL
UNION NO. 1224,

Defendants.

                         DECLARATION OF BENJAMIN TREMMEL

         I, Benjamin Tremmel, do hereby declare under penalty of perjury pursuant to 28 U.S.C.

§ 1746 the following:

         1.      I am employed as a pilot by Atlas Air, Inc. ("Atlas"). I have an air transport

pilot's license from the Federal Aviation Administration and work as an Atlas first officer flying

Boeing 747 aircraft. I have worked at Atlas since October 10, 2016. Since 2011, I understand

that Atlas and its affiliated company, Polar Air Cargo Worldwide, Inc. (Polar) have operated

separately under their own regulatory operating certificates and authorities but the pilots who fly

their aircraft work under one collective bargaining agreement (CBA) and one seniority list.

Moreover, despite the fact that both Atlas and Polar are collectively referred to as the "company"

under the CBA, the pilots who operate their aircraft pursuant to the CBA are all employees of

Atlas.
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                                                                                        have filed a
       2.          I understand that Atlas and Polar (collectively, the "Plaintiffs")
                                                                      pilots are engaging in an illegal
lawsuit against my union, claiming that the union and the Atlas
                                                              declaration specifically identi             fy
slowdown. Neither Plaintiffs' complaint nor Captain Carlson's
                                                                       rted unlawful slowdown activity.
the pilots whom they have accused of engaging in various purpo
                                                                     pilots accused of engaging            in
After reading the complaint, I recognized that I am one of the Atlas
                                                                            ed for under the Atlas
such slowdown activity by abusing the Atlas fatigue policy as provid
                                                                  described in Paragraph 53 of
Fatigue Risk Management Plan. In this regard, I am one the pilots
                                                                   53 of the complaint. I am
the complaint, and specifically in bullet number "12" of Paragraph
                                                                        Captain Carlson's declaration
also described in Paragraph 23, bullet numbers "12" and "13" of
                                                                 Plaintiffs specifically accuse me
(the descriptions in those two bullet paragraphs are identical).
                                                                    it to Hong Kong not because
of calling off fatigued from a September 9, 2017 flight from a Kuwa
                                                                       cause long delays and maximum
I was fatigued but instead as part of "a "calculated campaign to
                                                                 and Captain Carlson are not true.
 harm" to Atlas. These accusations and allegations by Plaintiffs
                                                                                     ive that I provided
        3.          The reason why I called out fatigued are explained in the narrat
                                                                labor-management
 to the Atlas Fatigue Risk Management Committee (FRMC), a joint
                                                                 ed Fatigue Risk Management
 committee that was established to administer Atlas's FAA-requir
                                                               y after I called out fatigu             ed, and
 Program. That narrative, which I submitted to the FRMC shortl
                                                                   details why I was physically
 which I kept of copy of for my records, accurately and truthfully

 unfit for duty based on fatigue.
                                                                                     with the details of
            4.       I have willingly and voluntarily consented to provide the Court
                                                                   case. I have done so because the
 my fatigue calls, and consent to the use of those details in this
                                                                  because they, along with those
 accusations and insinuations against me personally are false and
                                                                   e callouts are now also being
 accusations and insinuations related to other pilots whose fatigu




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characterized by the Plaintiffs and Captain Carlson as illegitimate, have the effect of

undermining the FAA' s and Atlas' fatigue risk program. That is because pilots, after reading the

complaint and Captain Carlson's declaration are concerned that they will now be punished or

have their reputations tarnished for calling out fatigued.

       5.      When I called out fatigued, I followed Atlas's and the FRMC's fatigue protocols

by calling in to the Atlas Scheduling Department and advising a scheduler on a recorded

telephone call that I was fatigued and required rest. As noted above, I also submitted a fatigue

report to the FRMC shortly after I was rested. That report contains an accurate and truthful

narrative explaining why I had called off fatigued. As set forth in that narrative, the reasons for

having called off fatigued are as follows:

                The bottom !me is I was chronically fatigued due to be mg gone 24 days with
       different schedule changes 15 out of the last 16 days. Upon arrzvmg m KW/ for a roughly
       1.5 day layover /felt a cold coming on with sore throat and congestion. I slept 5-6 hours
       the first mght and didn't leave the hotel room that day trying to not overdo it and prevent
       a full on cold. The next mght I slept well and woke up at 830AM still with a bit of a sore
       throat but feel mg decent enough to work the fhght to HKG leaving at 1PM Not too long
       after waking up my PCD went off delaying the depature 14 hours to 3AM the next mght.
       AT 4 PM I layed down and tried to go back to sleep so I could be rested for the delayed
       departure. I could not sleep firstly because I had only been up for eight hours and also
       because despite requesting a lobby room I was given a street one which was very loud at
       that time of day. I packed up my stuff and went to the lobby and told them I had to switch.
       This time they gave me a lobby room which was much quieter. Unfortunately by this point
       I was wide awake and could not fall back to sleep. At 11 PM I started to feel tired but my
       wakeup would be m 1 hour. If I was to take the flight I would have started it after be mg
       awake for 18. 5 hours. The final determmmg factor was knowing that If I pushed myself to
       stay up 27 - 30 hours straight I would surely have a full blown cold and likely not be able
       to complete the next seven days of my pattern. I called m fatigued took the mm rest and
       we ended up going out about 8 hours late. I slept pretty decent that mght and my cold
       had not gotten any worse. I definitely made the right decision and am thankful we have
       this fatigue policy

        I understand multiple schedule changes are normal for the type of operation we have and
        often times find they can make the pairings more exciting... With enough advanced notice
        most of the tzme sleep schedules can be adjusted accordingly. The bzg problem is with
        rolling delays and especially wzth changes that occur after the crewmember has gone to
        sleep preparmgfor the next day. Regardless of whether I am szck or not. If I start a trzp



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      after being up for 18 hours or more 1 am going to be fatzgued by the end of zt. I know this
      because at the end of last month I was supposed to have 4-5 days off Instead I was
      extended 3 days ofwhlch I just sat zn the hotel zn ICN. The last day I again sleep well and
      woke up to found out the departure had been pushed back 12 hours and reduced from 3
      man to 2 man crew (block 7:50). I started the trip after bemg up 16 hours and was
      exhausted by the end. On top of that It took me about 3 days to feel somewhat rested at
      which poznt I was well mto my next 17 day tnp .. .. As much as I would lzke to say there is
      something I can do differently m the future to prevent thzs type offalzgu e call To me the
      only real solutzon lles zn the hands of the schedulers. I thznks zt would make a difference
                                                                                                  if
      For flzght tzmes over 7 hours: Delays occurring wzthin 10 hours of departure (the time
      when a crewmember should be sleeping) should be lzmzted to no more than 10 hours past
      the originally schedul ed time. Otherwise delay it more than 24 hours allowing the
      crewmember to get another nzght of rest. Another easier less restrictive and more
      operatzonally efficient solutzon would be to allow the crewmember to notify scheduling
       zmmedzately upon receiving the change whether or not they will lzkely be rested enough
      for the 10 + hours delays. I've trzed this before but as of now they just say t1y to get a
       nap let us know later ifyou are fatigued. This leads to last mznutefatigue calls which can
       really mess up the operatwn. .. . Thanks for your tzme and I apologize about the
       grammar ... thzsforezgn keyboard does not have commas :)

       6.       Until Plaintiffs filed the complaint in this case, Atlas has never questioned the
                                                                                                  it
legitimacy of my fatigue callout. If Atlas thought that I had intentionally falsified my callout,

could have initiated both counseling and disciplinary proceedings against me. Atlas never
                                                                                              I
initiated any such counseling or disciplinary proceedings against me, however. Instead, after

submitted by fatigue report to the FRMC, I learned that that the FRMC had accepted my report,

thereby recognizing that I had legitimately called out fatigued.

        7.      I did not call out fatigued to cause flight delays or otherwise to disrupt the

company's operations. I called out fatigued because I was exhausted and not fit for duty.

        8.      I did not call out fatigued on account of pilot or peer pressure, as part of a plan or
                                                                                            its
plot by the Atlas pilots, instructions from the Union, or pressure from the Union or any of

representatives. I called out fatigued because, as I stated above and informed Atlas and the

FRMC at the time, I was fatigued and not fit for duty.




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         I declare under penalty of perjury under the laws of the United States that the foregoing

statements are true and correct.

   I0    b.L-t I t 7
Dated:         '                                       Signed




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          Description:

          The bottom lıne ıs I was chronıcally fatıgued due to beıng gone 24 days wıth
          dıffenent schedule changes 15 out of the last 16 days. Upon arrıvıng ın KWI for a
          roughly 1.5 day layover I felt a cold comıng on wıth sore throat and congestıon. I
          slept 5-6 hours the fırst nıght and dıdnt leave the hotel room that day tryıng to not
          overdo ıt and prevent a full on cold. The next nıght I slept well and woke up at
          830AM stıll wıth a bıt of a sore throat but feelıng decent enough to work the flıght
          to HKG leavıng at 1PM. Not too long after wakıng up my PCD went off delayıng the
          depature 14 hours to 3AM the next nıght. AT 4 PM I layed down and trıed to go
          back to sleep so I could be rested for the delayed departure. I could not sleep
          fırstly because I had only been up for eıght hours and also becasue despıte requestıng a
          lobby room I was gıven a street one whıch was very loud at that tıme of day. I
          packed up my stuff and went to the lobby and told them I had to swıtch. Thıs tıme
          they gave me a lobby room whıch was much quıeter. Unfortunıtely by thıs poınt I
          was wıde awake and could not fall back to sleep. At 11PM I started to feel tıred but
          my wakeup would be ın 1 hour. If I was to take the flıght I would have started ıt
          after beıng awake for 18.5 hours. The fınal determınıng factor was knowıng that If I
          pushed myself to stay up 27 - 30 hours straıght I would surely have a full blown
          cold and lıkely not be able to complete the next seven days of my pattern. I called
          ın fatıgued took the mın rest and we ended up goıng out about 8 hours late. I slept
          pretty decent that nıght and my cold had not gotten any worse. I defınıtely made
          the rıght decısıon and am thankful we have thıs fatıgue polıcy.

          Suggestions:

          I understand multıple schedule changes are normal for the type of operatıon we
          have and often tımes fınd they can make the paırıngs more excıtıng... Wıth enough
          advanced notıce most of the tıme sleep schedules can be adjusted accordıngly.
          The bıg problem ıs wıth rollıng delays and especıally wıth changes that occur after
          the crewmember has gone to sleep preparıng for the next day. Regaudless of
          whether I am sıck or not. If I start a trıp after beıng up for 18 hours or more I am
          goıng to be fatıgued by the end of ıt. I know thıs because at the end of last month I
          was supposed to have 4-5 days off. Instead I was extended 3 days of whıch I just
          sat ın the hotel ın ICN. The last day I agaın sleep well and woke up to found out the
          the departure had been pushed back 12 hours and reduced from 3 man to 2 man
          crew (block 7:50). I started the trıp after beıng up 16 hours and was exhauted by
          the end. On top of that It took me about 3 days to feel somewhat rested at whıch
          poınt I was well ınto my next 17 day trıp.... As much as I would lıke to say there ıs
          somethıng I can do dıfferently ın the future to prevent thıs type of fatıgue call To
          me the only real solutıon lıes ın the hands of the schedulers. I thınks ıt would make
          a dıfference ıf For flıght tımes over 7 hours: Delays occurıng wıthın 10 hours of
          departure (the tıme when a crewmember should be sleepıng) should be lımıted to
          no more than 10 hours past the orıgınally scheduled tıme. Otherwıse delay ıt more
          than 24 hours allowıng the crewmember to get another nıght of rest. Another
          easıer less restrıctıve and more operatıonally effıcent solutıon would be to allow
          the crewmember to notıfy schedulıng ımmedıately upon receıvıng the change
          wheter or not they wıll lıkely be rested enough for the 10 + hours delays. Ive trıed
          thıs before but as of now they just say try to get a nap let us know later ıf you are
          fatıgued. Thıs leads to last mınute fatıgue calls whıch can really mess up the
          operatıon.... Thanks for for your tıme and I appolıgıze about the grammer...thıs
          foreıgn keyboard does not have commas :)


          Fatigue Contributing Factors               Accumulated Fatigue                             Yes
          Fatigue Contributing Factors               Arrangement of Pairing Duty Periods             Yes
          Fatigue Contributing Factors               Late Departure                                  Yes
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         Fatigue Contributing Factors    Rest Quality at Hotel                     Yes
         Fatigue Contributing Factors    Tired Prior to Start of Duty Period       Yes
